           Case 3:16-cv-00178-BSM Document 1 Filed 07/15/16 Page 1 of 23                FILED
                                                                                      U.S DISTRICT COURT
                                                                                  EASTERN DISTRICT ARKANSAS


                                              .         .
                            UNITED STATES DISTRICTCOURT
                            EASTERN DISTRICT OF ARKANSAS

GRAYSON BLAKE                                                                       PLAINTIFF

v.                                cAsENo._\;Jlocv              l=t~ - ~H
JERROD L. SLAYTON,                                                                DEFENDANT
ATTORNEY AT LAW

                                          COMPLAINT

      Comes now the Plaintiff, Grayson Blake (hereinafter "Blake"), by and through his

attorneys, Leigh Law, PLLC, and for his Complaint against Defendant Jerrod L. Slayton

(hereinafter "Slayton"), and respectfully states as follows:

                                        INTRODUCTION

      Plaintiff brings this Complaint seeking statutory and actual damages, as well as attorney

fees and costs, for multiple violations of the Fair Debt Collection Practices Act (hereafter

"FDCPA") § 15 USC 1692 et seq., and the Arkansas Fair Debt Collection Practices Act

(hereafter "AFDCPA ") § 17-24-101 et seq.

                                 JURISDICTION AND VENUE

      1.    Jurisdiction in conferred on this Court pursuant to 15 US. C § 1692k(d) & A. CA. §

17-24-512(d).

      2.    Venue is proper as all alleged conduct took place while the Blake was residing in

Jonesboro, Arkansas.
                                      This case assigned to District Judge   N·, I\ef
                                      and to Magistrate Judge      Kf'   Cr   l   n~
              Case 3:16-cv-00178-BSM Document 1 Filed 07/15/16 Page 2 of 23



                                                     PARTIES

         3.       Blake is an individual, natural person, and a consumer, residing in Jonesboro,

Arkansas and was an "individual." "natural person,, and a "consumer" at all times as alleged in

this Complaint. 1

         4.     Slayton is a licensed attorney in the state of Arkansas, with a principal place of

business located at 218 West Washington, Jonesboro, Arkansas, 72401, and is a "debt collector'',

in so far as debt collector is defined pursuant to 15 USC § 1692a(6) and A.CA. § 17-24-

502(5)(A). 2

                  RELEVANTPRECEDENTANDSTATUTORYSTRUCTURE
                         OF THE FDCPA AND THE AFDCPA

         5.   Blake incorporates by reference and re-alleges paragraphs (1) through (4).

         6.    The FDCP A is a broad remedial statute that imposes strict liability on debt collectors;

its terms are to be applied "in a liberal manner." Picht v. Hawks, 77 F.Supp.2d 1041, 1043

(D.Minn.1999), affd, 236 F.3d 446 (8th Cir.2001). 3

         7.    Whether conduct violates the FDCPA is to be determined by analyzing the conduct

from the perspective of the least sophisticated consumer. Freyermuth v. Credit Bureau Servs.,

Inc., 248 F.3d 767, 771 (8th Cir. 2001)(quoting, Duffy v. Landberg, 215 F.3d 871, 873 (8th Cir.

2000).


1
   Pursuant to 15 USC§ 1692(1.11(3) & A.C1. § 17-2-1-50:3(2), a ""consumer" means any natural person obligated or
allegedly obligated to pay any debt.
2
  A "debt collector" is any person who uses any instrumentality of interstate commerce or the mails in any business
the principal purpose of which is the collection of any debts, or who regularly collects or attempts to collect, directly
or indirectly, debts owed or due or asserted to be owed or due another. 15 U.S.C §1692a(6) & A.CA. § 17-24-
502(5)(A).

See also, Heinz v. Jenkins, (94-367), 514 U.S. 291 (1995)("The Act [FDCPA] does apply to lawyers engaged in
litigation.))

3
    A.CA§ 17-24-512(a)(J)
            Case 3:16-cv-00178-BSM Document 1 Filed 07/15/16 Page 3 of 23



      8.     A debt collector who misrepresents the character, amount, or legal status of any debt

violatestheFDCPA.15USC§1692e(2)(A) &A.CA.§ 17-24-506(a).

     9.        A debt collector who attempts to collect a fee not expressly authorized by the

agreement creating the debt or permitted by law violates the FDCPA. 15 USC. § 1692!(1) &

A.CA.§ 17-24-107(a)(b)(l).

     10.      A debt collector violates 15 USC§ 1692e(ll) & A.CA.§ 17-24-506(a)(b)(ll}(B}

when its subsequent communications to the consumer, after its initial communication, fails to

disclose to the consumer that the communication is from a debt collector.

     11.       Debt collectors may not use any false, deceptive, or misleading representation or

means in connection with the collection of any debt. 15 USC § 1692e & A.CA. § 17-2./-

506(a).

     12.     A debt collector is not allowed to use any unfair or unconscionable means in the

connection with the collection of any debt. 15 USC.§ 1692/ & A.CA.§ 17-24-507(a).

      13.    15 USC. § 1692g (a)(l)-(5) & A.CA.§ 17-24-508(a)(l)-(5) states the following:

               Within five days after the initial communication with a consumer
               in connection with the collection of any debt. a debt collector shall
               [emphasis added], unless the following information is contained in
               the initial comnumication ~1r the consumer has paid the debt, send
               the consumer a written notice containing --

               (1) the amount of the debt;

               (2) the name of the creditor [emphasis added] to whom the debt is
               owed;

               (3) a statement that unless the consumer, within thirty days after
               receipt of the notice, disputes the validity of the debt, or any
               portion thereof: the debt will be assumed to be valid by the debt
               collector;
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                 (4) a statement that if tlk' con:-.urncr notifies the debt collector in
                 writing [emphasis added j\vithin tht: thirty-day period that the
                 debt, or any portion thereof is disputed. the debt collector will
                 obtain verification of the debt or a copy of a judgment against the
                 consumer and a copy of suci, verification or judgment will be
                 mailed to the consumer by 1lte debt collector; and

                 (5) a statement that. upon tl:c c·_in~.·,mw: '::. \vrirku request with:n the
                 thirty-day period. t11c debt 1:(1:kc,,r -.vill p:ovidc the con~.urncr with
                 the name and add;i.::ss or lht: origi1iai crcdito~-. if different from the
                 current creditor.

       14.     Any collection acti'\ities rnd cor11mm1:cmion during the 30-day period lvalidationJ

may not overshadow or be inconsisknl with th·:         d1~closure   of the consumer's right to dispute the

debt or request the name and address odht' 011t,;inal crtJ;L0r. 15 USC § l 692g (b).

       15.     The bona fide error defense is lir11ited to clerical errors only. Picht v. Jon R. Hawks,

Ltd., 236 F.3d 446, 451 (8 1h Cir. 2001).

       16.     A debt collector's misunderstanding as to its legal requirements under the Act is not

entitled to the bona fide error defense. Jer.nan     v~~¥lis_le.   McNellie, Rini, Kramer & Ulnch LPA,

Supreme Court of the United States, No. 08-1200. 130, 1605; 176 L Ed. 2D 519; 2010 Lexis 3480

(April 21, 2010)("This case presents the question whether the "bona fide error" defense applies to

a violation resulting from a debt collector's mistaken interpretation of the legal requirements of

the FDCPA. "[W]e conclude it does not.").

                               FACTS COMMON TO ALL COUNTS

       17.     Blake incorporates by reference and re-alleges paragraphs (1) through (16).

       18.      On the date of May 24, 2016. Blake received a debt collection letter from Slayton

which constituted an initial communication under the FDCPA and AFDCPA (See Exhibit "A"

attached hereto and incorporated by reference).


4
 Owens v. Hellmuth & Johnson, PLLC, 550 F. Supp. :?d 1060 - Dist Court, Minnesota 2008; Peak v. Southern &
Allen, Dist. Court. ED Arkansas 20 I 0;
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      19.       Slayton's letter did not state to Blake who Slayton was alleging was the original

creditor, only who Slayton's "client" was.

      20.      Slayton's letter alleged Blake owed $50.00 to Slayton's client "NEA Baptist Clinic

(EPIC)."

       21.      Slayton's letter to Blake did not contain a statement that if the consumer [Blake]

notifies the debt collector [SlaytonJ in writing lemphasis addedJ within the thi1ty-day period that

the debt or any po1tion th1.:n:ot: is disputed, i:hc Jebt collector \1vill obtain verification of the debt

or a copy of a judgment against the consLimer and a copy of such verification or judgment will be

mailed to the consumer hy the deht colledor.

       22.      On the date of June 17. '.2016. Sbyton fikd a lawsuit against Blake. in the District

Court of Craighead County, Arkansas, case# 16-380, captioned, NEA Baptist Clinic (EPIC) v.

Grayson Blake.

       23.        Slayton's demand in the Complaint was for a deht(s) allegedly owed to NEA

Baptist Clinic (EPIC) in the amount of S185. 1>0, Comi fees of $80.00, Service Fees of$13.00, and

Slayton's Attorney Fees in the amount of $18.59 . for a total amount allegedly owed by Blake in

the amount of $297.49 (See. Exhibit "B" attached hereto anJ incorporated by reference).

       24.      On the date of .June 23. 2016. Bbke signeL1 for a certified mailing from Slayton.

       25.       Slayion's mailing to Blake    ad~·ised   Blake via a letter date June 21, 2016, that a

lawsuit had heen filed against Blake, along\\ ith the Summons and Complaint

      26.       Although Blake still had six 1.1:-:ys trorn lhc date of Slayton's letter dated June 21,

2016, and three days from the receipt of Slayton' s lencr to timely demand validation of the

alleged debt, Slayton's letter made no reference to Blake's validation rights, instead Slayton's

letter ovcrshadmvcd   Blake'~   rights, by turning the focus to the lawsuit and what Blake needed to
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do to avoid a default. along with what Hluh.(.'. shou;d do ii' he 'vould rather resolve the case instead

of filing an answer. 5

        27.      NO\vhcre in Slayrnn·s letter did h:                 ::idvis1~   Blake or even indirectly imply that Blake

could still demand validation and such                 d,~m;md        \\ mtld require Slayton to suspend his collection

efforts and stay the case until validation \vas ;)l'OYided w Blake.

        28.       In addition to overshadowing Blal..c 's validation rights. Slayton stated in his

communication, ··You           rBtak..:1   have 30 Jd)'S lc11m tlic              t\:Ct~ipt   of   thi~   ldtcr to obtain an attorney

and file an answer. Otherwise, the Complaint will be granted as set out therein."'

       29.         Slayton·s letter did not contain th1: m<.'.mJ:it,)ry disclosure that the letter was from a

debt collector. and Slavton's letter to Blake                        vva:; 1h1t     a "legal pleading" exempt from said

disclosure.

       30.        Blake's wifr is cum:'ntly being treated fr,1 breast cancer and Blake had just arrived

from Memphis. Tennessee. \vhen be was ser'.ed                       vi:~   Slayron's certified mailing.

       31.       Blake experienced shock. ange1. stress. emotional distress, anxiety. fear. and

embarrassment upon receiving Slayton's                  c~rtii!~-J m~_,.iling.


       32.       Cpon reading Slayton 's lener, Hlak<:: bccmne :·urth1;·r ,<.;tressed as he knew he did not

have the money to hire          ::L .:1.rtorm:y   tu reprc-.:1.:m hi rn 'it::... ; nst a lrnvsuit        t()[   less than $300.00; he

assumed the Complaint 'vould be granted since he collld not afford an attorney and all his money

was going to cancer treatments for his              \Vi fc.   J\1j -;ty.

                                 COUNT l:          VlOLAJIO~S                OF THE FDCPA

       33.         Blake incorporates by reference and re-alleges paragraphs (1) through (32).



                                          - - - -------------
5
  This Court has previously held that in c~ses reg<.>rdin<; abt•sive debt r.0llecti0n letters, the date of the violation of
the FDCPA occurs on the date th.: :ett~r that all<?g~..!iy c'.Jcs i"}t c~•1rq.:il} v<1rh tlk: FDCPA's requirements is sent to the
debtor. See Mattson v, U.S. West Communication~,_]J_l.£,_, 967 F.2d 259, 261 (8th Cir.1997).
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      34.       Slayton's initial communication h> Blake that did not clearly state the creditor, using

the least sophisticated consumer standard, violated the FDCPA. specifically, 15 U.S.C. §§
                           6
1692g(a)(2) & 1692f

       35.       Slayton's initial communication to Blake failed to properly give Blake his 1692g

debt validation notice; specifically, fai:ing to inform Blake he must demand validation in writing,

violated the FDCPA, 15 U.S.C. §§1692g(a}(-I) & 1692.f

      36.           Slayton's lawsuit against Blnke. in which he alleged Blake owed the principal

amount of $185.90 violated the FDCPA. specifically, 15 USC§§ 1692e(2)(A) & 1692(/), as

less than 30 days prior Slayton had           ~~tated   to Blake that he owed a principal amount of only

$50.00.

       37.       Slayton's demand for attorney's fees in the amount of $18.59 violates the FDCPA,

specifically, 15 U.S.C. § 1692((1), as nothing that Slayton attached to his Complaint affirmatively

shows that any alleged Blake entered into with Slayton' s client expressly authorizes Slayton to

seek attorneys fees against Blake. 7

       38.       Slayton's follow-up letter which he enclosed with his lawsuit, dated June 21, 2016,

violated the FDCPA, specifically, 15            [;~S. C.   § 169Jg   (h},   as the letter overshadowed Blake's

validation rights. Slayton' s letter shifted the: focus to the recently filed lawsuit and asked that

Blake contact him within the 30-day answer period to resolve the matter, but failed to inform

Blake he still had time remaining within the 30-day validation period to exercise his validation

rights, which would have caused Slayton to suspend the lawsuit until validation was provided to

Blake. Furthermore, Slayton's letter contained a section written in all capitalization, bold, and

6
 A court evaluating d~bt co 1k:tior 'ctters must ·view ttr'.r-, "lrrc,ug'.1 the eyes of the unsophisticated consumer."
Duffy v. Landberg, 215 F.3d 871, 873 (8th Cir.1000).

7
 It is noteworthy that Slayton' s Complaint does no1 comply with the strict pleading requirements under the
Arkansas Rules of Civil Procedure, Rule IO(d).
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underlined, that focused on what Blake                   nc~ded        to do m response to the lawsuit, further

overshadowing Blake's validation rights

      39.      Slayton's letter dated June 21. '.:Oi6. further violated the FDCPA, specifically, 15

USC§ 1692e. as Slayton advised Blake:

                "You have 30 days from th~ receipt 0f this letter to obtain an
                atiorney anJ file ar" answer if you wish to contest this action.
                Otherwise. the Complaint will be granted as set out therein.''

Blake was not required to obtain an attorney               [1'   he   \i:i~hed    to contest the action. Blake had/has

the absolute right to proceed pro-se, espec:i::il!)· :1gainst an action where the demand was less than

$300.00 and was filed in srnail claims court.

      40.       Slajton's lelk:r Jated June 21.. ':1016. funher violated 15 USC§ 1692e, as it is a

false and misleading st1lernent that if Blake; docs not obtain an attorney and answer the

Complaint will be [emphasis added] gr:mted as set om therein. The Complaint being granted if

Blake did not answer is certainly one scern:H"<o. bet it is in no way exactly what will happen, as

Slayton's letter states.       Slayton would have to fik a motion for a default judgment, then

assuming the default \Vas granted, there             wot~Jd -;t: ll    be   110   guarantee the Court would grant the

relief exactly as stated in ,S!avton 's Ccmp1aint.

      41.      Slayton's     iette~·   dated June '..::L '..-:01<), f.1rP1i.:r violated 15 USC§ 1692c, as it is a

false and misleading        staterr~ent    that Sia; ton s letter is Blake's "official notification of the

lawsuit." Blake's official notification of the :awslfrt is 1he summons issued by the court clerk,

not a letter that Slayton   Stfo:l~    that is foll or rnCil ..Tii!! mi-,rcpresentations.

      42.     Slayton 's letter dated June:? 1, l.O 16, violated the FDCPA, specifically, 15 US. C §

1692e(11), as Slayton' s Jetta did not           ~ontain    i:b'='. 1mmJatory disclosure that the communication

to Blake was from a dei:it C1)llector       attemp~ing     to cc,JL~c! a deh1.
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                               COU~T          JI: VlOLATlONS PF THE AFDCPA

           43.     Blake incorporates by        referencr~    and re-alleges paragraphs (l) through (42).

           44.      As the AFDCPA mirrors the FDCPA. SI.iyton's violations of the FDCPA are per se

violations of the AFDCPA specifically, violations of A.C.A. 2010 §§§§§ l 7-2./-506(a), 17-24-

107(a)(b)(1), l 7-2./-508(a;( 1 )..(5), 17-24-507 (a). l 7-2-l-506(a)(b)(J l)(B).

                                 DAMAGES AND PRA Y~R .FOR RELIEF

           45.      Blake incorporates by reference and re-alleges paragraphs (1) through (44).

           46.        As it relates co srntutory damages undt'.r the FDCP A, the Act states, "Any debt

collector who fails to comply with any provision of lhe Act. with respect to any person, is liable

to such person for statutory damages up to $ J ,llOO.CJO. J5 USC. l 692k(a)(2).

           4 7.      Blake prays for statutory da1 mges pursuant to the FDCP A m the amount of

$1,000.00.

            48.       As it reiah:::s   1L1   actual   lfa,-,1;,~~:-, ur.~ier   rhe FDCPA, the Act states, "Any debt

collector who fails to comply with any provision of the Act, with respect to any person, is liable

to   s~ch   person for actual damages.'' i 5 US. C.             ,'~   l 692k(a}(I).

            49.       Blake pm):: +or the actual darnoge of emotional distress in an amount proven at

trial. 8




8
  "Actual damages include damages for personal liumi,iation, embarrassment, mental anguish and emotional
distress. There is no fixed ~ta:·1fo;J 0r measure in the •:cis•~ l>' in1an,;ible items such as humiliation, embarrassment,
mental anguish or emotional distress. Mental and emori.1nal suffering and distress pass under various names such as
mental anguish, nervous shock and the like. It includes <di highly ur.pleasant mental reactions such as fright or grief,
shame, humiliation, embarrassment, anger. chagrir., dioc.ppointment, worry and naw;ea. The Jaw does not set a
definite standard by which to calculate compensation for mental and emotional suffering and distress. Neither is
there any requirement that any witness express an opin1~·.:1 about the amount of compensation that is appropriate for
the kind of law." McCollough v. Joh11son, Ro~_nbuq:;_~:.J.~;.l,'ini;~~~Lie.LC, _ F.3d ____ , 2011 WL 746892 (9th Cir.
2011). [It is noteworthy The H.morable Sandra Day O'Connm, A~sociate .Justice of the United States Supreme Court
(Ret.), was sitting by cl1~sigm1h'"" i~·1n11ant to 28 U S.C. 0 ?9·l(a):
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      50.     As it relates to statutory      damsge~:       .mdcr the AFDCPA, the Act states, "Any debt

collector who fails to comply with any provision uf the Act, with respect to any person, is liable

to such person for statutory d2mages up to i ·1 .UOO 00." A.CA. § 17-24-512(a)(2)(A).

      51.        Blake prays for statutory darnages pursuant to the AFDCP A in the amount of

$1000.00

      52.       Blake prays for a reasonable ::-.Homeys fee as determined by the court pursuant to

15 USC 1692k & A.CA.§ J'7--24-512(3J(A).

      53.      Blake prays for any other reli.d        th~   Court   d1~emsjust    and proper.

      54.        Based on information and belief., Blake is not the only consumer victimized by

Slayton's numerous illegal debt collection practices, and Blake reserves the right to move for

class certification after the c!ose of discovery a, 1 d per tJ1e FRCP.




      55.     Blake   incorpora~es   by referenc•.::   :.:1lr~ ie-alleg~s   paragraphs (1) through (54).

      56.     Blake demands trial by jury.




                                                                            Respectfully submitted,

                                                                            Leigh Law PLLC
                                                                            Post Office Box 21514
                                                                            Little Rock, Arkansas 72221
                                                                            501.227.7627 office
                                                                                       28fax
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                lN THE DISTRICT COURT OF CRA.!GHEAD COUN1-Y,         Alt~SAS

                                           _ _ _ _ DIVISION

        NEJ\ BAPTIST CLINIC       (~PIC}                                              Pt.A!NTIFF

              vs                            NO,

        GRAYSON W BLAKE




                                           SUMMONS
        THE STATE OF AAl<ANSAS TO DBF'SNOANT:

        Q~AYSON W BLAKE
        1816 GREENWOOD ST     JONE$80RO, ~
        XXX-XX-XXXX     OLYMPUS CONSTRUCTION
        870·219-1477     XX/XX/1966


        A lawsuit has been filed againGt ~· The ~eli~f detna.nded is otated in the
        attached complaint. Within 30 day~ after. service or thia summons on you
         (not counting the day you receiv~d it) ·- or 50 dayu if you Are incarcerat•d
        in any jail, penitentiary, or other correctional facility in Arkansas -- you
        must file with the clerk of this cou1·t a written anawer to the complaint or a
        11\0t:.ion W1der Rule 12 ot the Arkansas Rules of Civil Procedure.      .kn iHI L. s:,,yt 1, 11
                                                              .                                 , t\ttorrwy at i ,aw
        The answer or motion must al.so be served\on ~he.lplf-1.n : t o;_ ft~'1tiff'ltS VIJ. washingtm1
        attorney, whose name and address are:,)., J! 'i H,)L i.,.;     · '" -      .hmesboro, AR 72401
        !f.   you fail to reapond within the $pplicabln time period, judgment by default
        may be entered againut you for the relief deManded in the                 c<~laint.


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        (SBAL)




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                                        PROOF OF SERVICE
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                                                                                           : or
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               usua.l pl•ce of abode at
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           r. delivered the summons and complaint                   to                 _,              an agent
           authorized by •ppointment or by law to receive 11ervice of                     8Utnn\OllS    on

           behalf of                                                                 or
           t am the plaintiff or an attorney of record for the plaintiff in thin

           lawsuit, and t aerved the aummons and complaint on the defendant by

           certified mail, return receipt requcBted, restricted d•livery, a• •hown
           by the attached Qigned return rr!!c::f"!ipt.

           I am the plaintiff o:r an attorney of record for the plaintiff in this
           lawsuit, and I mailed a t;!opy o'!: the summons and complaint by firfllt-elass
           mail to the defendant together with two copies of a notice and
           acknowledgment form within twenty days after the date ot mailing.

           Other (specify):-···--·~---------------------
           I    was unable to execute service because:



   My tee is -$ _ _ _ •




                                                         ·'
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   TO BE    COMP~XTi:D   IF SERVICE IS    ~V ~        SHERIFF OR DEPUTY SHERIFF:


                                         SHERIFF OF - - - - - - - COUNTY, ARKANSAS

                                         l!y:                 ..............~-~----
                                                (Signature of              o~rv~r}



                                         (Printed        name, title,           and badge m.unbcr}

   To be COC'l\pleted if service is by a peroon other than a sheriff or depputy aheriff:

                                                BY:
                                                       (Signature of server)

                                                      (Printed name)

   Address: ____~~




   Subscribed and sworn to before me thi• date:~----~~-


                                                      . Notary Public

   My   GOnllnio~ion expires;~----~-~-


   Additional information regardinq service or attempted service;

                                                ·------~·--------~-----


    -------~--------~---                                 --·-~·   ....   ------·---~~
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     IN THE DIS'l'RICT COURT OF Ci.<.AWHf.AlJ CO~JN't"{ ARJ~J\,'<'5AS,                       JONB!.>SQJ<O        DIVISJ:ON

                                                                                                                    ..
                                                                                                                  \..    ;


   NBA !3Afl'l'IST CLINIC (EP!C)                                                                                 PLAINTIFF
                                      NO.

   GRAYSON W 'OLA.KE                                                           t.                                DEFENDANT




            Comes now t.he t>laiat~iff., NEA 51'.?T::ST CLINIC O::l'J:C) , anQ. for                                     it;.$   elalm a.ml

   cause oi! a.c1;io11 aga.inot tho defendant, GRAYSON w BLAKE,

   st.ateG aud alleges as foU oW.'l!

            1. That detendant:,      GRi':>.YSON   ·w,    ,J[,AKB    i.s a resldtmt

   of CRAIGHEAD County, il.rkansa;:i.

            ~,   That this Court.:. hao jur.i. $dicticn over thi                    ~1    c._;i.use o!.' action and

    r:he pa?:ties hereto.
            3. That on the 4 d;ly of 0FX'EJ1!EER.               202,{,.    t:l"·~




   upon .a.ccount, that      ~.he   account.   15        now pasc 1-:l.ue atid un1xtid 1 ;.1.nd th'-1.t

   plaintiff is entit..ied to j\_.dgment. for z"ch                    !$'Yrn    r.ogether with it.s                 coat::ll

   and Attorney's fees o:t          .?U.'..S.::i_ h.-ireS.!1        expe:u<led.



   been forth coming.
             5. That a verification o±             tA.cccamc .!.r1 :n"':::-e~o           "'c.t:acb.ed   "'l'l   Exbibl.t




    THIS IS AN ATTEMPT TO CO!.oLBCT ;.., DBHr'                AN~    n:n:•1_;.J:!,MA.'I ION OSTAr.tllEP
    WILL BE USED FOR THAT PtJRPOS£.
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   WHEREFORE, PLAINTIFF, NF.!A BAPTIST CLINIC (EPlC} prays this Court

   tor judgment. against the Oefeadant;.,
   GRAYSON    w BL!\KE in         the sum of




                                                                                                  , - ~ 'i,., C~·i ---·
      PRINCIPAL AMOUNT OF DEBT •..•...• ' .••.•• ' ••..•..• $ __                                 L~)
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                                                                         VERIFtCATION OF ACCDUNT
       STATE OF AAl<ANSAB
       COUNTY OF                                                                                                           RE: 224620·2579027

                       Before me, a Notary                                             Pub~l.c,       iti and for said courity and otate. \:.his

       day personally appeared                                                        _.___ll::Q.__J'.Yk:lfl1lS.____
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         u         (Title)
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                                                                                      of mA AAV'l'IST C1/i'.l'11C (SP!C)

       hel."einafter called •claimemt"; that the ilaid claimant                                                                         iti:

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       2. Use When Concern                                                                           2, 1<        r:o~pc:trtner'Sh"-P   composed   ot
          is a Pa.:r:cnership

       3.     us~           Wh!!n one Person                                                          3.    I'.   'io.:.e propri..,tors.hip OW:1ed by
              owno the Business
       and that aff iant has been duly authvrizect by claimant to make this

       affidavtt; that aff iant is                                                            f.amil~i:     with the books and busineos of
       claimant, and the annexed account i.r: 7:avor of claim<!!.nt and againlit

       G~J\YSON               W BLAKE hereinafter called "debcot •· 'ihowing a b.:il.:\nce

       due of $185.90 is, within the knowledge 0£                                                                       ~~o ~f:fiant,      just true

       and oorrect, •nd is due from oaid debto::· to c J.a .i.rnant and. that .,.11 j uet

       and lawful offsets, payment$ and credir;s hav"' beer. allowed.




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       SUBSCRIBED and sworn
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   Transaction History~ BLAKE,GRA YSON W [22-16201                                                                                                                           Pagel of 1

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   Transaction History • BLAKE,GRA YSON W [22,1-6201                                                                                                                                                              Page I of 1


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   Transaction History. BLAKE,GRA YSON W {224620]                                                                                                Page 1 of l


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  Transaction History - BLAKE,GRA YSON W !).24620]                                                                                                        Page l of I

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    Transaction History~ HLAKE,C!H.A YSON W (224620.)                                                                                                                                       Pagel of 1


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